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                                       Case No. 23-1418


                           UNITED STATES COURT OF APPEALS
                               FOR THE FOURTH CIRCUIT


                                   STATE OF WEST VIRGINIA

                                                    Petitioner,

                                               v.

                    U.S. ENVIRONMENTAL PROTECTION AGENCY, et al.,

                                                    Respondents.


                        Petition for Review of Final Agency Action of the
                         United States Environmental Protection Agency


                RESPONDENTS’ PETITION FOR REHEARING EN BANC




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                                  Pollution for the 2015 8-Hour Ozone National Ambient
                                  Air Quality Standards,” 88 Fed. Reg. 9336 (Feb. 13,
                                  2023).

        EPA                       U.S. Environmental Protection Agency

        Good Neighbor             42 U.S.C. § 7410(a)(2)(D)(i)(I).
        Provision

        NAAQS                     National Ambient Air Quality Standards

        SIP                       State Implementation Plan




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                            FED. R. APP. P. 35(b)(1) STATEMENT

              The State of West Virginia challenges action of the Environmental

        Protection Agency (EPA) published at 88 Fed. Reg. 9336 (Feb. 13, 2023)

        (Disapproval). A divided motions panel of this Court issued a precedential opinion

        (reported at 90 F.4th 323) denying EPA’s motion to transfer the case to the D.C.

        Circuit and granting a stay of EPA’s action pending judicial review. Two questions

        merit en banc review:

           1. Whether 42 U.S.C. § 7607(b)(1) gives the D.C. Circuit exclusive venue to

              review challenges to EPA’s Disapproval.

           2. Whether a petitioner has made the requisite showing for a stay when

              “likel[ihood] of succe[ss] on the merits” is not shown, but rather each side

              has stated “plausible grounds” supporting its position. 90 F.4th at 331.

                                        INTRODUCTION

              Although interlocutory en banc review is highly unusual, it is warranted in

        this case. The motions panel’s published decision conflicts with the statute and

        prior precedent on both the venue and stay issues. Indeed, there is now a recent and

        express split with the Tenth Circuit on venue. Oklahoma ex rel. Drummond v.

        EPA, 93 F.4th 1262 (10th Cir. 2024). And the panel’s imposition of a stay pending

        review, based on a clear misapplication of the relevant legal standard, will

        undermine a critical health-protective emissions reduction program while in place.



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        Further, that error can only be meaningfully corrected now, as the question of a

        stay pending review, by definition, will be moot once the Court decides the merits.

        Rehearing en banc is necessary now.1

                           LEGAL AND FACTUAL BACKGROUND

        I.    The Clean Air Act’s venue provision

              The Clean Air Act provides that a petition for review of a “nationally

        applicable” final action “may be filed only in [the D.C. Circuit].” 42 U.S.C.

        § 7607(b)(1). Alternatively, a petition for review of a “locally or regionally

        applicable” final action “may be filed only in the . . . appropriate [regional]

        circuit.” Id. But if that “locally or regionally applicable” action “is based on a

        determination of nationwide scope or effect” and if EPA, in taking that action,

        “finds and publishes that such action is based on such a determination,” then the

        petition “may be filed only in the [D.C. Circuit].” Id. In its report on the 1977

        Amendments that revised Section 7607(b)(1), Congress noted that the

        Administrator’s determination that the “nationwide scope or effect” exception

        applies would be appropriate for any action that has a scope or effect beyond a

        “single judicial circuit.” See H.R. Rep. No. 95-294 (1977) at 323-24.




        1
          If the Court is concerned about the interlocutory posture, it has the option to take
        the entire case en banc and, if it reaches the merits, to hear them initially en banc.
        See Fed. R. App. P. 35(c).

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              Consistent with “the statute’s purpose to centralize judicial review of

        nationally applicable actions in the D.C. Circuit,” Oklahoma, 93 F.4th at 1269,

        prior EPA decisions on Good Neighbor State Implementation Plan (SIP)

        submissions have been reviewed there. To date, the D.C. Circuit is the only circuit

        court that has issued merits decisions on challenges to EPA’s actions on Good

        Neighbor SIPs. See, e.g., Westar Energy, Inc. v. EPA, 608 F. App’x 1 (D.C. Cir.

        2015) (reviewing EPA’s action on Kansas’s Good Neighbor SIP); EME Homer

        City Generation, L.P. v. EPA, 795 F.3d 118, 132-36 (D.C. Cir. 2015) (reviewing

        EPA’s error correction of 22 Good Neighbor SIP approvals).

        II.   Air quality standards for ozone, the Good Neighbor Provision,
              and State Implementation Plans

              The Clean Air Act directs EPA to set National Ambient Air Quality

        Standards (NAAQS) for specific pollutants, including ozone, at levels necessary to

        protect public health. 42 U.S.C. § 7409(b)(1). EPA most recently revised the ozone

        standard to 70 parts per billion in 2015. 80 Fed. Reg. 65292 (Oct. 26, 2015).

              After EPA revises a NAAQS, it must designate regions of the country as in

        “attainment” or “nonattainment” with the standards. 42 U.S.C. § 7407(d)(1). States

        must develop SIPs that are adequate to implement, maintain, and enforce the

        NAAQS within their boundaries. Id. § 7410(a). But because air pollutants travel

        with the wind, “heedless of state boundaries,” emissions in upwind States can

        threaten a downwind State’s ability to attain and maintain the NAAQS. EPA v.


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        EME Homer City Generation, L.P., 572 U.S. 489, 496 (2014).2 To prevent

        downwind States from bearing the costs of upwind pollution, the Act’s Good

        Neighbor Provision requires each State’s SIP to prohibit emissions that will

        “contribute significantly to nonattainment” or “interfere with maintenance” of the

        NAAQS in “any other State.” 42 U.S.C. § 7410(a)(2)(D)(i).

               States must submit Good Neighbor SIPs for EPA’s review within three years

        of a NAAQS revision. Id. § 7410(a)(1). EPA reviews submitted SIPs for

        compliance with the Act, id. § 7410(k)(1)(B), (k)(3), and only approves SIPs that

        meet the Act’s requirements, id. § 7410(k)(3).

        III.   The Disapproval

               West Virginia submitted a SIP which, according to West Virginia, satisfied

        its Good Neighbor obligations with respect to the 2015 ozone NAAQS, despite not

        proposing any additional emissions controls. Under the Act, EPA was obliged to

        independently evaluate the SIP’s compliance with the Good Neighbor Provision.

        EPA thus had to evaluate whether pollution from West Virginia hinders the ability

        of “any other State” (including States in other judicial circuits) to attain the

        NAAQS. See id. § 7410(a)(2)(D); H.R. Rep. No. 95-294 at 323-24.




        2
         The problem is particularly acute for ozone, which travels long distances. West
        Virginia v. EPA, 362 F.3d 861, 865 (D.C. Cir. 2004).

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              On February 13, 2023, EPA published a single final rule disapproving SIPs

        from West Virginia and 20 other States, none of which planned any emission

        reductions. Disapproval at 9338, 9343. EPA evaluated all the SIPs using

        nationwide modeling and a common analytical framework under which it found

        West Virginia’s SIP would allow air pollution from the State to contribute to

        nonattainment and air quality maintenance issues for the 2015 ozone NAAQS in

        Connecticut, New York, and Ohio, and that West Virginia had not demonstrated

        that its contribution to air quality problems in downwind States is not significant.

        EPA finalized comparable findings as to 20 other States’ SIPs and published its

        action in the Federal Register. EPA concluded the Disapproval is “nationally

        applicable,” and published an alternative finding that it is “based on a

        determination of nationwide scope or effect.” Disapproval at 9380-81.

        IV.   Litigation

              EPA directed petitioners to file challenges to the Disapproval in the D.C.

        Circuit. Id. One State, Nevada, did so, but the remaining State challengers, joined

        by various private parties, sued in regional circuits corresponding to States with

        disapproved SIPs.

              To date, only one other circuit (the Tenth) has conclusively resolved the

        venue issue, by transferring petitions filed by Utah, Oklahoma, and private parties




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        to the D.C. Circuit. Oklahoma, 93 F.4th 1262.3 Motions panels in three other

        regional circuits have ruled, preliminarily—and in all but one circuit, over

        dissents—that venue is proper in those circuits. But those unpublished rulings

        remain subject to reconsideration by merits panels. See, e.g., Texas v. EPA, No. 23-

        60069, 2023 WL 7204840 (5th Cir. May 1, 2023) (with dissent); Arkansas v. EPA,

        No. 23-1320 (8th Cir. Apr. 25, 2023); Kentucky v. EPA, No. 23-3216 (6th Cir. July

        25, 2023) (with dissent).

              After the Disapproval, in a rule known as the Good Neighbor Plan, EPA

        issued Federal Implementation Plans (FIPs) for 23 States with disapproved (or

        unsubmitted) SIPs, as the Act requires. 88 Fed. Reg. 36654 (June 5, 2023); 42

        U.S.C. § 7410(c)(1). EPA stayed implementation of that rule with respect to States

        (including West Virginia) for which the Disapproval was stayed by motions

        panels. 88 Fed. Reg. 67102 (Sept. 29, 2023).4

              Petitioners filed a petition for review in this Court and moved to stay the

        Disapproval as to West Virginia pending judicial review. EPA moved to transfer

        the petition to the D.C. Circuit. The motions panel held oral argument and issued a


        3
         Utah and Oklahoma filed a petition for writ of certiorari of the Oklahoma opinion
        on March 28, 2024.
        4
         The D.C. Circuit declined to stay the Good Neighbor Plan while litigation is
        pending. On February 21, 2024, the Supreme Court heard oral argument on
        applications to stay the Plan.
        https://www.supremecourt.gov/orders/courtorders/122023zr_bp7c.pdf.

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        published decision denying EPA’s motion to transfer and granting West Virginia’s

        motion to stay the Disapproval of the State’s SIP submission. 90 F.4th 323. Judge

        Thacker dissented.

              On venue, the majority collapsed into a single inquiry whether the

        Disapproval is “nationally applicable” and whether it is “based on a determination

        of nationwide scope or effect,” and concluded it is neither. 90 F.4th at 328-30. The

        majority held, notwithstanding EPA’s issuance of a single rule disapproving 21

        SIPs, that “the subject of our review is the disapproval of West Virginia’s SIP.” Id.

        at 331. Though recognizing that even EPA’s West Virginia-specific decision

        “focused on factual data localized to West Virginia and two downwind States

        ‘linked’ to West Virginia,” id. at 328 (emphasis added), the panel reasoned that

        EPA’s decision was “based on West Virginia’s data, analysis, and conclusions,” id.

        at 331, which meant EPA’s “action in disapproving West Virginia’s SIP was based

        entirely on West Virginia’s particular circumstances and its analysis of those

        circumstances,” id. at 329. The panel also recognized that EPA’s reasons for

        disapproving 21 SIPs “overlapped,” but it found dispositive that EPA “g[ave] a

        unique mixture of reasons for each rejection.” Id. at 330.

              Judge Thacker dissented and “would hold that venue only lies with the D.C.

        Circuit” because “this court must analyze whether the regulation itself is nationally

        applicable, not whether the effects complained of or the petitioner’s challenge to



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        that regulation is nationally applicable.” Id. at 333-35 (Thacker, J., dissenting)

        (quoting ATK Launch Sys., Inc. v. EPA, 651 F.3d 1194, 1197 (10th Cir. 2011)).

              On the stay motion, the panel recited the four criteria that must be met to

        stay agency action pending judicial review, but did not apply the test

        conjunctively. Id. at 331-32 (citing Nken v. Holder, 556 U.S. 418, 426 (2009)). The

        panel’s entire analysis on likelihood of success on the merits was that this factor

        “is neutral” because “West Virginia has set forth plausible grounds in support of its

        petition, but so also has the EPA in support of its position.” Id. at 331. The panel

        issued a stay pending judicial review. Id. at 332.

                                    SUMMARY OF ARGUMENT

              There are two independent grounds to rehear the panel opinion en banc.

        First, the panel’s venue holding presents a question of exceptional importance. It

        conflicts with published Tenth Circuit precedent holding that the D.C. Circuit is

        the proper venue for a challenge to the same agency action challenged here. See

        Fed. R. App. P. 35(b)(1)(B). As the Tenth Circuit held, the Disapproval is

        nationally applicable on its face. The panel’s contrary holding allows for

        conflicting circuit court decisions on the legality of the same agency action—an

        outcome at odds with Congress’s goal of “centraliz[ing] judicial review of

        nationally applicable actions in the D.C. Circuit.” See Oklahoma, 93 F.4th at 1269.




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               Additionally, the panel’s interpretation of the “nationwide scope or effect”

        provision is contrary to the plain text of 42 U.S.C. § 7607(b)(1). Even if the

        relevant “final action” was the disapproval of West Virginia’s SIP alone, that

        disapproval is based on multiple determinations of “nationwide scope or effect”—

        i.e., legal and technical judgments regarding pollution from all the upwind States

        resulting in effects felt in downwind, out-of-circuit States—notwithstanding EPA’s

        requisite consideration of information contained in West Virginia’s SIP. En banc

        review is needed to reverse the panel’s extratextual requirement that to be “based

        on a determination of nationwide scope or effect,” a locally or regionally

        applicable action cannot consider any local circumstances, such as where

        emissions originate.

               Second, in granting a stay, the panel decision conflicts with Supreme Court

        precedent holding that a stay requires a showing of likelihood of success on the

        merits. The panel decision made no such finding, but instead held the factor was

        “neutral” because each side had put forth “plausible grounds” supporting its

        position. 90 F.4th at 331. That is not sufficient to justify the extraordinary remedy

        of a stay.




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                                           ARGUMENT

        I.    The panel’s venue ruling warrants en banc review because it
              presents a question of exceptional importance. See Fed. R. App. P.
              35(b)(1)(B).

              The panel’s venue ruling “conflicts with the authoritative decision[] of

        [an]other United States Court[] of Appeals [to] address[] the issue.” Fed. R. App.

        P. 35(b)(1)(B). Additionally, it interprets the “nationwide scope or effect”

        provision in 42 U.S.C. § 7607(b)(1) in a way that renders it meaningless.

              A.     The panel decision conflicts with a decision of the Tenth
                     Circuit.

              In Oklahoma, the Tenth Circuit unanimously held that the D.C. Circuit has

        exclusive venue to review the Disapproval. That action, “[o]n its face,” is

        nationally applicable because it spans “eight EPA regions and ten federal judicial

        circuits,” “applied a uniform statutory interpretation and common analytical

        methods,” and “required the agency to examine the overlapping and interwoven

        linkages between upwind and downwind states in a consistent manner.” 93 F.4th at

        1266. The panel’s holding irreconcilably conflicts with Oklahoma.

              Noting this conflict, the Tenth Circuit split from, and criticized, the panel

        decision. It held that the panel “strayed from § 7607(b)(1)’s text and instead

        applied a petition-focused approach that we and other circuits have rejected,” by

        “improperly framing ‘the relevant agency action’ as ‘EPA’s disapproval of West

        Virginia’s SIP’”). Id. at 1268-69 (quoting West Virginia, 90 F.4th at 330-31). The


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        Tenth Circuit highlighted Judge Thacker’s dissent, which emphasized the

        majority’s departure from “all relevant precedent,” 90 F.4th at 335, including ATK,

        651 F.3d at 1197. And it rejected other parts of the panel majority’s analysis, such

        as the emphasis on State- or region-specific proposed rules, rather than the final

        Disapproval. Compare Oklahoma, 93 F.4th at 1267 (rejecting arguments that

        proposed rules decide venue; holding courts should consider only the face of the

        ‘final action’” (quoting 42 U.S.C. § 7607(b)(1)) (emphasis added)), with West

        Virginia, 90 F.4th at 330 (emphasizing that the Disapproval “was preceded by

        several proposed rules individually tailored to each affected State’s SIP”).

              B.     The panel’s venue ruling is incorrect.

                     1.     The Disapproval is nationally applicable.

              As the Tenth Circuit and Judge Thacker have explained, whether an action is

        “nationally applicable” turns on “the face of the action, not its practical effects or

        the scope of the petitioner’s challenge.” Oklahoma, 93 F.4th at 1266. Because the

        Disapproval “[o]n its face” applies to 21 States, it is nationally applicable. Id. The

        panel decision “jettison[ed] the well-established analysis altogether and instead

        look[ed] to the nature of West Virginia’s challenge to hold that the [Disapproval] is

        locally applicable.” Id. at 1269 (quoting 90 F.4th at 334 (Thacker, J., dissenting)).

        Although the panel purported to consider “the geographical reach of the EPA’s

        action,” 90 F.4th at 328, it erroneously defined that reach based not on the face of



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        EPA’s action, but instead on West Virginia’s petition for review. See 93 F.4th at

        1269.

                The panel also incorrectly held that because 42 U.S.C. § 7410(k) directs

        EPA to act on each State’s “plan” (in the singular), this means the relevant agency

        “action” is only the disapproval of West Virginia’s SIP. 90 F.4th at 330. But as the

        Tenth Circuit made clear, Section 7410(k)’s direction to “act on the submission”

        does not prohibit combined action. See 93 F.4th at 1268 n.6 (“[W]hen a final action

        concerns states around the country and applies a common analytical

        method . . . then the action is nationally applicable.”).5

                As this Court recognized in West Virginia Chamber of Commerce v.

        Browner, No. 98-1013, 1998 WL 827315, at *6-7 (4th Cir. Dec. 1, 1998), an EPA

        rulemaking affecting a “large number of states,” representing “a coordinated effort

        to attack a problem that ignores state boundaries,” is nationally applicable.

        Consistent with that holding, the Tenth Circuit rejected the panel’s venue decision

        because it is based on the “scope of the petitioner’s challenge,” rather than “the

        face of the action.” 93 F.4th at 1266. The Disapproval, on its face, is nationally

        applicable.




        5
         To the extent West Virginia challenges EPA’s authority to act on multiple SIPs at
        once, that goes to the lawfulness of EPA’s action and should be reviewed on the
        merits, not in determining the appropriate venue.

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                     2.    The Disapproval is based on a determination of
                           nationwide scope or effect.

              Even if the relevant final action is just EPA’s disapproval of West Virginia’s

        SIP, venue is proper in the D.C. Circuit because, as explained below, EPA based

        that action on multiple determinations of nationwide “scope” and “effect.” See 42

        U.S.C. § 7607(b)(1). Congress enacted the venue provision in Section 7607(b)(1)

        to “centralize judicial review” and avoid inconsistent rulings from different judicial

        circuits. See Oklahoma, 93 F.4th at 1269. In this context, the term “nationwide” in

        “nationwide scope or effect” means determinations extending “beyond a single

        judicial circuit.” H.R. Rep. No. 95-294 at 324. As explained below, EPA made

        multiple “nationwide” determinations.

              Of course, EPA also reviewed States’ individual SIPs and supporting

        rationales (many of which were substantially identical), as it must to satisfy the

        requirements of reasoned administrative decisionmaking. See 5 U.S.C. § 706(2).

        Yet a single agency action can be based on multiple determinations, and it suffices

        that one of them be of either nationwide scope or effect, as long as EPA publishes

        it. See 42 U.S.C. § 7607(b)(1).

              In holding otherwise, the panel stated that for a determination to be “national

        in scope and effect,” EPA must exclusively “address[] and analyze[] circumstances

        common to all regions in the Nation.” 90 F.4th at 328. But this analysis ignores

        that actions may rest on a combination of local/regional and nationwide


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        determinations, and it reads extraneous words into the statute. Virtually all “locally

        or regionally applicable actions” will be based, to some extent, on local or regional

        circumstances. D.C. Circuit venue turns on whether EPA’s locally or regionally

        applicable action is “based on a determination of nationwide scope or effect,” 42

        U.S.C. § 7607(b)(1)—not whether it is “based solely on” such a determination. En

        banc review is needed to reverse the panel’s erroneous conclusion that to warrant

        centralized review, a locally or regionally applicable action cannot consider any

        local circumstances. See id.; 90 F.4th at 328.

                           a.       EPA based disapproval of West Virginia’s SIP on
                                    a determination of nationwide scope.

              A determination that is “nationwide” extends beyond a single judicial

        circuit. H.R. Rep. No. 95-294 at 324. The Disapproval rested on multiple

        determinations of nationwide “scope.”6 EPA applied a common analytical

        framework to evaluate submissions of States throughout the country. See

        Disapproval at 9340-43 (describing EPA’s approach to evaluating SIP

        submissions). EPA also made several new legal and technical determinations

        regarding issues that cut across the various States, which were central to EPA’s

        rationale for disapproving the SIP submissions. See id. at 9361-79.




        6
         See Webster’s New World Dictionary 2d (1974) (defining “scope” as “range or
        extent of action, inquiry, [or] an activity”).

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              For instance, EPA’s determination to consider updated, 2016-based

        modeling applied to every disapproved State, including West Virginia. See id. at

        9365-67. EPA also rejected States’ claims that compliance with prior Good

        Neighbor rules discharged their obligations for the 2015 ozone NAAQS. See id. at

        9354-60, 9376-77 (making that determination for West Virginia and eleven other

        States). Additionally, EPA rejected States’ contentions that ozone contributions

        from mobile or international emissions undermined their linkages to downwind

        States. See id. at 9355-60, 9377-78 (making that determination for West Virginia

        and seven other States). These determinations underlying the Disapproval were of

        nationwide scope because they had a “range” or “extent” reaching beyond a single

        judicial district—indeed, reaching across the country.

                           b.       EPA based disapproval of West Virginia’s SIP on
                                    a determination of nationwide effect.

              EPA also made determinations of nationwide “effect.” Evaluation of a SIP’s

        compliance with the Good Neighbor Provision requires EPA to determine effects

        of emissions emanating from the subject State on air pollution (and legal

        compliance) in another State—often, a State in a different judicial circuit.

              On its own terms, the panel decision explains that EPA disapproved West

        Virginia’s SIP based on the extra-circuit effect—that is, the effect on ozone

        pollution levels in Connecticut and other States—of West Virginia’s air emissions.

        “West Virginia’s data, analysis, and conclusions,” 90 F.4th at 331, were data,


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        analysis, and conclusions about those extra-circuit effects. See Disapproval at 9360

        (describing West Virginia’s highest-level contribution to New Haven County,

        Connecticut); EPA, Air Quality Modeling Final Rule Technical Support Document

        at C-3–C-7 (showing linkages between West Virginia and receptors in

        Connecticut, New York, and Ohio).7 Indeed, the Supreme Court recognized

        curtailing interstate ozone transport from each State requires assessing

        “overlapping and interwoven linkages” among many States. See EME Homer, 572

        U.S. at 496-97. Thus, EPA made (and published its finding of) a determination of

        nationwide effect sufficient to confer venue on the D.C. Circuit. See Disapproval at

        9360, 9380.

              C.      En banc reversal would resolve the existing circuit split.

              En banc reversal would resolve the circuit split that currently exists in the

        SIP review context between this Court and the Tenth Circuit—the only other Court

        of Appeals to publish an opinion on the Clean Air Act venue provision as applied

        to a consolidated SIP Disapproval. Moreover, the policies behind en banc review

        as a mechanism to resolve circuit conflicts align with Congress’s intent in the

        Clean Air Act to provide for consistency in review of certain decisions by

        “centraliz[ing]” review in the D.C. Circuit. See Oklahoma, 93 F.4th at 1269; Fed.



        7
         https://www.epa.gov/system/files/documents/2023-
        03/AQ%20Modeling%20Final%20Rule%20TSD.pdf.

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        R. App. P. 35 & Advisory Committee Notes on 1998 Amendment (noting

        “problem[]” that when the “circuits construe the same federal law differently,

        parties’ rights and duties depend upon where a case is litigated”).

              If en banc review is granted, the Court should permit focused supplemental

        briefing on venue, to explore each prong of the venue test and account for notable

        intervening circuit rulings on venue under the Clean Air Act. Compare Hunt Refin.

        Co. v. EPA, 90 F.4th 1107 (11th Cir. 2024) (holding consolidated EPA denial of

        petitions for small refinery exemptions was nationally applicable) with Calumet

        Shreveport Refin., LLC v. EPA, 86 F.4th 1121 (5th Cir. 2023) (holding same action

        was locally or regionally applicable).

        II.   The panel’s interpretation of the “likelihood of success” criterion
              for a stay warrants en banc review, as it conflicts with decisions of
              the Supreme Court and this Court. See Fed. R. App. P.
              35(b)(1)(A).

              To obtain the extraordinary relief of a stay, no less than a preliminary

        injunction, the applicant must show “that success on the merits is ‘likely’ rather

        than merely ‘possible.’” Di Biase v. SPX Corp., 872 F.3d 224, 235 (4th Cir. 2017).

        Failure to make that showing “is fatal to [the applicant’s] motion.” Id.; see also

        Nken, 556 U.S. at 434 (“It is not enough that the chance of success on the merits be

        ‘better than negligible.’”).

              The majority’s “plausible grounds” standard for likelihood of success on the

        merits resurrects the discredited “sliding scale” approach to preliminary relief


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        previously employed by this Court, before the Supreme Court held in Winter v.

        NRDC, 555 U.S. 7 (2008), that “a party seeking preliminary relief [must] satisfy all

        four prongs of the preliminary-injunction standard” independently. See Mountain

        Valley Pipeline, LLC v. 6.56 Acres of Land, 915 F.3d 197, 215 n.7 (4th Cir. 2019).

              This Court can correct the panel’s error only through interlocutory en banc

        review, as the merits panel’s decision will moot the question whether a stay should

        have issued “pending the outcome of [the] petition for review.” 90 F.4th at 325.

                                         CONCLUSION

              The Court should grant rehearing en banc and vacate the panel decision.




         Dated: March 29, 2024                       Respectfully submitted,

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                             CERTIFICATE OF COMPLIANCE

              This brief complies with the type-volume limitation of Federal Rules of

        Appellate Procedure 35(b)(2) and 40(b) because it contains 3,900 words, as

        determined by the word-count function of Microsoft Word, excluding the parts of

        the brief exempted by Federal Rule of Appellate Procedure 32(f).

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        in 14-point Times New Roman.


        Dated: March 29, 2024                       /s/ Alex J. Hardee
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                                   CERTIFICATE OF SERVICE

              I certify that on March 29, 2024, I electronically filed the foregoing petition

        with the Clerk of the Court for the United States Court of Appeals for the Fourth

        Circuit using the CM/ECF system. The participants in the case are registered

        CM/ECF users and service will be accomplished by the CM/ECF system.

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